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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

MASON HOFF, Individually and on                  §
behalf of all others similarly situated,         §
                                                 §
         Plaintiff,                              §
                                                 §       CIVIL ACTION NO. 1:18-cv-00378
v.                                               §
                                                 §
LDWB, LLC; LDWB #2, LLC; THE                     §
LONESOME DOVE WESTERN                            §
BISTRO, LTD.; AND LDWB KNOX,                     §
LLC,                                             §
                                                 §
         Defendants.                             §


                          JOINT RULE 26(f) CONFERENCE REPORT


To the Honorable Judge Lee Yeakel, United States District Judge:

        COME NOW, Plaintiff Mason Hoff, Individually and on behalf of all others similarly

situated ("Hoff") (hereinafter referred to as "Plaintiff') and Defendants LDWB, LLC, LDWB

#2, LLC, The Lonesome Dove Western Bistro, Ltd. And LDWB Knox, LLC ("Defendants") and

file this Joint Rule 26(f) Conference Report pursuant to Federal Rule of Civil Procedure 26(f):

        a.      Rule 26(f)(1) and (2)

        Pursuant to Rule 26(f), the parties conferred and discussed the nature and basis of their

claims and defenses and the possibility of settlement.

        b.      Rule 26(f)(3)

        Concerning the matters set forth in Rule 26(f)(3), the parties agree as follows:

        Rule 26(f)(3)(A): The Parties agree to exchange disclosures on or before August 28,

        2018.




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        Rule 26(f)(3)(B):        The Parties anticipate conducting discovery regarding the duties

        performed by Plaintiffs; hours of work; compensation, wages, tips, gratuities, and other

        remuneration received; payroll deductions and reimbursements; Plaintiffs' claims;

        Plaintiffs' damages; and Defendants' defenses.

        Rule 26(f)(3)(C):        The Parties do not anticipate that there will be a great deal of ESI

        involved in this case. However, the Parties agree to follow the Federal Rules of Civil

        Procedure with respect to the discovery of ESI, and further agree to cooperate in the

        production of same in a mutually agreeable format.

        Rule 26(f)(3)(D):        The parties will submit a Joint Motion for Entry of an Agreed

        Protective Order for confidential non-public business information and financial records.

        Rule 26(f)(3)(E):        The Parties do not currently request any changes in the limitations

        on discovery imposed by the applicable rules. However, in the event this lawsuit is

        certified as a collective action, Defendants anticipate requesting leave of Court to take

        more than ten depositions.

        Rule 26(f)(3)(F):        The parties will submit a Joint Motion for Entry of an Agreed

        Protective Order for confidential non-public business information and financial records.


                                                Respectfully submitted,


                                                       /s/Daniel A. Verrett
                                                Daniel A. Verrett
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                                                Austin, Texas 78746

                                                ATTORNEY FOR PLAINTIFF




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                                                     /s/Russell D. Cawyer
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